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UHSUHVHQWLQJ%6*5SUHDGPLQLVWUDWLRQ7KHVHFRPPXQLFDWLRQVZHUHDOODWWRUQH\FOLHQW
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       &UDPHUUHVSRQGHGWKDWKHQHHGHGWRFRQVXOWZLWKFRXQVHO ZKLFKWKHHPDLOVD\VZHUH
       EHLQJFF¶GWKRXJKWKHUHDUHQRFF¶VRQWKHHPDLO 0U&UDPHUQHYHULGHQWLILHGDQ\
       FRXQVHO2IFRXUVHZHDVVXPHGWKDWIRUVFKHGXOLQJWKDWFRXQVHOZDV0U%DUQHWW
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       FRPPXQLFDWLRQ,FDQ¶WUHFDOOWKRXJKWKHVXEVHTXHQWZULWLQJVPDNHWKLVLUUHOHYDQW 
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       HDUO\0D\UHVXOWLQJLQ0U%DUQHWW¶VWHOOLQJXVWKDW0U&UDPHUKDGDJUHHGWREH
       YROXQWDULO\GHSRVHG0U%DUQHWWFRQILUPHGLQZULWLQJWKDWZHFRXOGWHOO'HIHQGDQWVWKDW
       0U&UDPHUKDGVRDJUHHGE\FRQILUPLQJ³WKDWUHIOHFWVZKDWZHKDYHEHHQWROG´
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       RFFXUE\$XJXVW (&) ZHVHQWWKDWRUGHUWR0U%DUQHWWRQ-XQH
    x $WWKHVDPHWLPHZHDVNHG0U%DUQHWWWRVHQGSURSRVHGGDWHV1HYHUGLG0U%DUQHWW
       VD\KHZDVXQDXWKRUL]HGWRSOD\WKHUROHLQVFKHGXOLQJ7KDWUROHKDVQRWKLQJWRGRZLWK
       DQ\UHSUHVHQWDWLRQ0U&UDPHUPD\RUPD\QRWKDYHLQRWKHUSURFHHGLQJVZKLFKZH
       NQHZQRWKLQJDERXWDQGZKLFKZDVQHYHUFDOOHGWRRXUDWWHQWLRQ
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       GDWHVWRJLYHWKH0DJLVWUDWH-XGJHIRUWKHGHSRVLWLRQVRI0HVVUV6WHLQPHW]DQG
       &UDPHU'&$XJRU´,WKHQVWDWHG³:HDUHJRLQJWRWHOOWKHRWKHUVLGH
       WKHVHGDWHVRQ)ULGD\-XQHVRLIWKHUHLVDQ\LVVXHSOHDVHOHWXVNQRZDVDS´
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       UHVSRQVHWKDQWKHRULJLQDOHPDLO :HWKHQKDGDGGLWLRQDOFRPPXQLFDWLRQVZLWK0U
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       WKDQN\RXIRUJHWWLQJ'DJWRDJUHHWR$XJRU´:HWKHQSUHVHQWHGWKRVHRSWLRQV
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       ZULWLQJRQ-XQH³WKHDJUHHGGDWHVIRUWKHGHSVWKDWZLOOEHJLYHQWKH&RXUW
       WRPRUURZDUH&UDPHU$XJXVW>@6WHLQPHW]$XJXVW´
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       QRWUHSUHVHQW0U&UDPHUIRUWKHVHSXUSRVHV6RIRUH[DPSOHRQ:HGQHVGD\RIthis
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       FOLHQWSULYLOHJHWKH\ZLOOLQYRNHFRQFHUQLQJWKLVFDVH±³,GRQ¶WNQRZKRZ,HYHUEHFDPH
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DXWKRULW\WRDJUHHWRWKHVHGHSRVLWLRQVDQGWKHGDWHVIRU0U&UDPHU0U%DUQHWWWROGXVKHZDV
FRPPXQLFDWLQJGLUHFWO\ZLWK0U&UDPHU7KLVZDVIXOO\FRQVLVWHQWZLWKRXUSUHYLRXV
LQWHUDFWLRQVZLWK0U%DUQHWWDQG0U&UDPHU1HYHURQFHLQRXUPDQ\FRPPXQLFDWLRQV
VXPPDUL]HGDERYHDERXWWKHVFKHGXOLQJRIWKHGHSRVLWLRQGLG0U%DUQHWWHYHUVXJJHVWKHZDV
XQDXWKRUL]HG2XUPRUHWKDQUHDVRQDEOHEHOLHIZDVWKDW0U%DUQHWWZDVLQIDFWDXWKRUL]HGWR
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ZDVUHSUHVHQWLQJ0U&UDPHULQFRQQHFWLRQZLWKGHSRVLWLRQVFKHGXOLQJLQWKLVPDWWHU5DWKHU
ZHKDGEHHQLQLPPHGLDWHDQGFRQVWDQWFRQWDFWZLWK0U%DUQHWWDVKDVEHHQRXUFRQVLVWHQW
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